                  Case 1:21-cv-05584-AJN Document 13 Filed 11/05/21 Page 1 of 2


                                              Garson, Segal, Steinmetz, Fladgate LLP

    SX
Robert Garson ◊           Stephen Greenwald           Kevin Kehrli ‹                   11/5/21
                                                                                          Tel: +1 (212) 380-3623
Michael Steinmetz * µ     John Lane µ                 Maddie Brown                        Fax: +1 (347) 537-4540
Chris Fladgate °          Timothy Kendal ◊
Thomas Segal ˆ            Ilan Ben Avraham Ñ

Additional Bar                                                                             Email: kk@gs2law.com
Memberships               µ Patent Bar
◊ England and Wales       ° Victoria (Australia)
ˆ Paris                   Ñ Israel
* New Jersey               Colorado
‹ Pennsylvania




    November 4, 2021

    Via ECF

    Hon. Alison J. Nathan
    United States Courthouse
    40 Foley Sq., Courtroom 906
    New York, New York 10007

    Re: LG Capital Funding, LLC v. Hangover Joe’s Holdings Corp. (21-cv-5584(AJN)):
    Adjournment Request

    To the Hon. Alison J. Nathan:

               This firm represents LG Capital Funding, LLC (“Plaintiff”), plaintiff in the above-

    captioned. I write in anticipation of the Initial Conference, presently scheduled for November 12,

    2021, and to respectfully request an adjournment thereof for the reason below.

               This matter was commenced by Summons and Complaint on June 28, 2021. Following

    issues serving Defendant, Plaintiff served Defendant’s Registered Agent on September 23, 2021,

    making Defendant’s response to the Complaint due on or before October 14, 2021.

               Because Defendant’s time to respond would not have passed at the time of the conference

    scheduled for October 8, 2021, Plaintiff requested that the conference be adjourned, which the

    Court graciously granted.

               Defendant has not responded to the Complaint; nor has Defendant contacted Plaintiff or its

    counsel regarding this matter. Accordingly, Plaintiff intends to seek a Clerk’s Certificate of
                           USA: 164 WEST 25TH STREET, 11TH FLOOR, NEW YORK, NY 10001
                                   UK:, 2 BEDFORD ROW, LONDON WC1R 4BU
                                              WWW.GS2LAW.COM
          Case 1:21-cv-05584-AJN Document 13 Filed 11/05/21 Page 2 of 2


       Continuation Page

Default and move for default judgment thereafter pursuant to Your Honor’s Rule 3.L. Plaintiff,

therefore, respectfully requests that the Court adjourn the conference scheduled for November 12,

2021 sine die.        SO ORDERED.

       Pursuant to Your Honor’s Individual Rule 1.E.: (i) the Initial Conference is presently

scheduled for November 12, 2021; (ii) there has been one previous request for an adjournment and

(iii) it was granted; and (iv), as Defendant has not appeared in the matter, Plaintiff was not able to

obtain consent.


Respectfully Submitted,

/s/ Kevin Kehrli
Kevin Kehrli, Esq.
                                                                   11/5/21




                                                                                                    2
